961 F.2d 219
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Donald E. CLAY, Petitioner-Appellant,v.Mark MCKENNA;  Gale A. Norton, Attorney General of the Stateof Colorado, Respondents-Appellees.
    No. 91-1359.
    United States Court of Appeals, Tenth Circuit.
    April 9, 1992.
    
      Before JOHN P. MOORE, TACHA and BRORBY, Circuit Judges.
      ORDER AND JUDGMENT*
      TACHA, Circuit Judge.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.   See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.9.   The case is therefore ordered submitted without oral argument.
    
    
      2
      Petitioner Donald Clay appeals an order of the district court dismissing his habeas corpus petition brought pursuant to 28 U.S.C. § 2254.   On appeal, Clay asserts that he entered his guilty plea involuntarily, unknowingly, and without understanding the consequences of the plea, that there was no factual basis for his plea of guilty, and that he was denied his constitutional right to effective assistance of counsel.   We exercise jurisdiction under 28 U.S.C. § 1291 and AFFIRM for substantially the reasons given by the district court.   The mandate shall issue forthwith.
    
    
      
        *
         This order and judgment has no precedential value and shall not be cited, or used by any court within the Tenth Circuit, except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.   10th Cir.R. 36.3
      
    
    